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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 Wisconsin Voters Alliance, et al.,                                               Case No. ________

                               Plaintiffs,
 v.                                                        Motion for Preliminary Injunction

 Vice President Michael Richard Pence, et al.,

                            Defendants.



                                              MOTION

        Plaintiffs Wisconsin Voters Alliance, et al., by and through undersigned counsel, hereby

move this Court to issue a preliminary injunction enjoining Defendants from certifying Presidential

electors who have not received state legislative post-election certification and from counting

Presidential elector votes from Presidential electors who have not received state legislative post-

election certification for the election of President and Vice President.

        Under Local Rule 47(f), Plaintiffs request oral argument for this motion.

 Dated: December 22, 2020                            /s/Erick G. Kaardal
                                                     Erick G. Kaardal (WI0031)
                                                     Special Counsel for Amistad Project of
                                                     Thomas More Society
                                                     Mohrman, Kaardal & Erickson, P.A.
                                                     150 South Fifth Street, Suite 3100
                                                     Minneapolis, Minnesota 55402
                                                     Telephone: (612) 341-1074
                                                     Facsimile: (612) 341-1076
                                                     Email: kaardal@mklaw.com
                                                     Attorneys for Plaintiffs
